Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 1 of 19




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                              FT. LAUDERDALE DIVISION

  ZACHARY PAUL CRUZ,                        )
                                            )
          Plaintiff,                        )
                                            )
  v.                                        )              Case No.
                                            )
  CAPTAIN VERONICA CARROLL,                 )
  in her individual capacity                )
  GAYLE KITE,                               )
  and                                       )              JURY TRIAL DEMANDED
  NELSON A. HERNANDEZ,                      )
                                            )
          Defendants.                       )
  __________________________________________)

                                         COMPLAINT

         Plaintiff Zachary Paul Cruz files this Complaint against Defendants Captain

  Veronica Carroll of the Broward County Sheriff’s Office, Gayle Kite, and Nelson A.

  Hernandez, utilizing 42 U.S.C. § 1983 as the statutory vehicle to vindicate Mr. Cruz’s

  rights under the Fourth and Fourteenth Amendment of the U.S. Constitution and all other

  applicable laws. In support thereof, Plaintiff states:

                                      INTRODUCTION

         Fear drove the Defendants to trample the Constitutional rights of Mr. Cruz

  because he is related to a man who committed a heinous act. On March 19, 2018 Broward

  County Deputies arrested Zachary Cruz on a simple misdemeanor trespass charge with

  a court scheduled bond of $25. Once Cruz arrived at Broward County Jail, his

  constitutional rights vanished. While Mr. Cruz requested to pay his bond as early as 7:00



                                                                                         1
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 2 of 19




  pm, Defendant Carroll refused to permit him to do so. Cruz’s $25 bail was eventually

  posted at approximately 9:45 pm on the day of his arrest by a third party. Records show

  that about an hour later, knowing that Cruz’s bond had been paid, a decision was made

  that Cruz was at danger of being released ‘into the streets’, and a certification of

  involuntary commitment was issued to prevent said release. Against the Constitution

  and the law, Defendants devised a course of action to unlawfully detain Mr. Cruz in

  Broward County Jail. Upon information and belief, this scheme was condoned, ordered,

  and ratified by Defendant Carroll and carried out by Defendant Kite.

        The decision that Cruz’s release presented a danger to himself or to anyone else is

  baseless. Aware that justification to hold Mr. Cruz was lacking, Defendants Carroll and

  Kite were willing to take any actions necessary to prevent Mr. Cruz’s release, all because

  Plaintiff’s brother is Nikolas Cruz, the alleged shooter at Stoneman Douglas High School.

  Based on the mental health status of Nikolas Cruz, Defendants assumed – no, rather they

  decided – that Plaintiff Zachary Cruz was mentally ill. Defendant Kite maliciously

  initiated proceedings, on nonexistent grounds, for the involuntary examination of Mr.

  Cruz under Florida’s ‘Baker Act.’ Based on Defendant Kite’s “findings,” Mr. Cruz was

  detained in Broward County Health Center for 5 days. Once at Broward County Health

  Center, Defendant Hernandez, a doctor, initiated proceedings for the termination of Mr.

  Cruz’s authority to make medical decisions, though there were no signs of mental illness.

  After 5 days, BHMC decided against prescribing Cruz any mental health medication;

  because based on their professionals’ observation, Cruz simply did not display the signs




                                                                                          2
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 3 of 19




  of a mentally disturbed person. Consequently, Cruz was released back to Defendant

  Carroll.

         Unlawfully confining Cruz to jail, shipping him to a mental health facility with no

  objective justification, taking away his authority, and then bringing him back to jail

  caused Mr. Cruz to suffer undue and severe distress.

                               JURISDICTION AND VENUE

                                                1.

         This Court has jurisdiction over the federal claims in this action in accordance with

  28 U.S.C. § 1331, as the claims raise federal questions under the laws and Constitution of

  the United States, and 28 U.S.C. § 1332, as Plaintiff and all Defendants are diverse and the

  amount in questions exceeds $75,000, exclusive of interests and costs.

                                                2.

         This Court has personal Jurisdiction over the Defendants as they reside and are

  domiciled within Broward County, Florida.

                                                3.

         Venue is proper in the Southern District of Florida, Ft. Lauderdale Division, under

  28 U.S.C. §§ 1391(b)(1) and 1391(b)(2) as the Defendants reside in this District and all or

  a substantial part of the events giving rise to the Complaint occurred within this District.




                                                                                            3
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 4 of 19




                                         PARTIES

                                               4.

         At all times relevant to this Complaint, Defendant Captain Veronica Carroll was

  a United States citizen, a Florida resident, a sworn deputy of the Broward County

  Sheriff’s Office, and the commander of Central Intake in the Broward County Main Jail.

                                               5.

         At all times relevant to this Complaint, Defendant Gale Kite was a United States

  citizen, a Florida resident, an Advanced Registered Nurse Practitioner, a Psychiatric

  Nurse, and an employee of Armor Correctional Health assigned to the Broward County

  Main Jail.

                                               6.

         At all times relevant to this Complaint, Defendant Nelson A. Hernandez was a

  United States citizen, a Florida resident, and a Psychiatrist and Doctor of Medicine

  practicing at Broward Health Medical Center.

                                               7.

         At all times relevant to this Complaint, Plaintiff Zachary Paul Cruz was a United

  States citizen. Mr. Cruz is a Virginia resident. At all times relevant to this Complaint,

  Plaintiff Cruz was residing at a private home with a Florida resident in Palm Beach

  County, Florida.




                                                                                           4
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 5 of 19




                                 STATEMENT OF FACTS

     A. The Roles and Responsibilities of Defendants Carroll, Kite, and Hernandez

                                                8.

     At all times relevant to this Complaint, Defendant Carroll was acting under color of

  state law. At all times relevant to this Complaint, Defendant Carroll was subject to the

  laws of the State of Florida and the Constitution of the United States.

                                                9.

     At all times relevant to this Complaint, Defendant Carroll was responsible for

  knowing and acting in accordance with all policies, procedures, orders, special orders,

  general orders, guidelines and regulations of the Broward County Sheriff’s Office.

                                               10.

     At all times relevant to this Complaint, Defendant Carroll was responsible for the

  operation of Central Intake at the Broward County Main Jail, for the conduct of the

  officers therein, and for the treatment of detainees housed therein.

                                               11.

         At all times relevant to this Complaint, Defendant Kite was subject to the laws of

  the State of Florida and the Constitution of the United States.

                                               12.

         At all times relevant to this Complaint, Defendant Kite was responsible for

  knowing and acting in accordance with all policies, procedures, orders, special orders,

  general orders, guidelines, and regulations of the Broward County Sheriff’s Office and

  Armor Correctional Health.


                                                                                             5
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 6 of 19




                                               13.

         At all times relative to the Complaint, Defendant Kite was responsible for knowing

  and acting in accordance with the prevailing standard of care for a psychiatric nurse and

  Advanced Registered Nurse Practitioner (ARNP).

                                               14.

         At all times relevant to this Complaint, Defendant Hernandez was subject to the

  laws of the State of Florida and the Constitution of the United States.

                                               15.

         At all times relevant to this Complaint, Defendant Hernandez was responsible for

  knowing and acting in accordance with all policies, procedures, orders, special orders,

  general orders, guidelines, and regulations of the Broward Health Medical Center.

                                               16.

         At all times relative to the Complaint, Defendant Hernandez was responsible for

  knowing and acting in accordance with the prevailing standard of care for a psychiatrist

  and medical doctor.

     B. Circumstances of the Arrest

                                               17.

         On February 14, 2018, Zachary Cruz’s brother allegedly perpetrated the school

  shooting at Marjory Stoneman Douglas High School.

                                               18.

         On March 19, 2018, Mr. Cruz was skateboarding around his former hometown of

  Parkland, Florida. Mr. Cruz was not carrying a weapon. He did not make any threats,


                                                                                         6
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 7 of 19




  did not approach anyone, aggressively or otherwise, and did not behave in any odd

  manner.

                                              19.

         Mr. Cruz skateboarded onto the grounds of Marjory Stoneman Douglas High

  School after hours on a school day.

                                              20.

         M. Cruz did not enter any school buildings, did not break any gates, and did not

  otherwise force any entry.

                                              21.

         Mr. Cruz was approached by a Broward County Sheriff’s Deputy. Mr. Cruz

  clearly and calmly cooperated with the Deputy; he did not flee, he did not resist, and he

  did not refuse to answer questions.

                                              22.

         Mr. Cruz truthfully provided his name, telephone number, employment status,

  and living situation.

                                              23.

         When asked why he was at the school, Mr. Cruz provided an answer

  understandable for anyone processing a traumatic experience; he was trying to soak it all

  in.




                                                                                         7
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 8 of 19




                                              24.

        Initially, the Deputies were preparing to issue a trespass warning to Cruz.

  However, upon learning that Mr. Cruz was the brother of Nicholas Cruz, Deputies

  arrested Cruz instead.

                                              25.

        According to the bond schedule issued by the Administrative Order of the Circuit

  Court of the Seventeenth Judicial Circuit in and for Broward County, Florida, Order

  Number 2015-14-Crim, the bond for this charge is set at $25.

                                              26.

        At approximately 7:00 p.m., Zachary Cruz expressed to the Deputies under

  Defendant Carroll’s command that he wanted to, and was able to, post bond

  immediately.

                                              27.

        The policies and procedures of Broward Counties Sherriff’s Office specifically

  permit the self-bonding of an individual.

                                              28.

        Though it was lawful for Mr. Cruz to post his bond, Defendant Carroll refused to

  permit Mr. Cruz to be taken to pay his bond and be released.

                                              29.

        At approximately, 9:54 p.m. on March 19, 2018, Andrea Hadyar paid Cruz’s bond.




                                                                                      8
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 9 of 19




     C. The Unlawful Involuntary Commitment

                                                30.

          At 9:54 p.m. on March 19, 2018, Andrea Hadyar paid Mr. Cruz’s bond.

                                                31.

          Captain Veronica Carroll and the officers under her command refused to release

  Cruz after that bond was paid.

                                                32.

          Upon information and belief, in an effort to prevent Mr. Cruz’s release post- bond,

  Defendants Carroll and Kite were prepared to utilize any reason available to detain Mr.

  Cruz.

                                                33.

          Mr. Cruz had been placed on suicide watch, which enabled Defendants Carroll

  and Kite to require that Mr. Cruz undergo a Baker Act evaluation prior to release.

                                                34.

          At 11:00 pm on March 19, 2018, Gale Kite, Ed.D ARNP, examined Mr. Cruz for

  less than 20 minutes. Defendant Kite did not speak to any of Mr. Cruz’s family or friends.

  Nevertheless, Defendant Kite determined that Mr. Cruz was suffering from a mental

  illness that rendered him fit to be involuntarily committed.

                                                35.

          Defendant Kite completed writing her report from her evaluation with Mr. Cruz

  titled Certificate of Professional Initiating Involuntary Examination, by 11:30 pm on




                                                                                           9
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 10 of 19




   March 19, 2018. This report launched the legal proceeding for the involuntary

   examination under Florida Statute § 394.463.

                                                 36.

          As justifications for finding cause for Mr. Cruz’s commitment, Defendant Kite

   wrote that Mr. Cruz had no telephone; no car; no responsible transportation; that Mr.

   Cruz was ‘at risk of being released to the streets;’ and that he had the entire community

   at unease.

                                                 37.

          Defendant Kite certified that Mr. Cruz was incapable of determining if his

   examination was necessary and that without treatment, he was likely to suffer from

   neglect or refuse to care for himself.

                                                 38.

          Defendant Kite certified that Mr. Cruz presented a threat to himself and that it

   was not apparent that his harm would be avoided through help of willing family, friends,

   or other services.

                                                 39.

          Pursuant to this Certification, upon information and belief, Defendant Kite

   initiated a proceeding in the Circuit Court for the 17th Judicial Circuit in and for

   Broward County, Florida, for the involuntary examination of Mr. Cruz pursuant to F.S.

   § 394.463.




                                                                                          10
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 11 of 19




                                               40.

          Upon information and belief, in keeping with an ex parte order from a Circuit

   Judge, Mr. Cruz was transported by Broward County Sheriff’s Deputies Kendrick and

   Marue-Puchue to Broward Health Medical Center.

                                               41.

          Upon information and belief, Defendant Kite was aware that Mr. Cruz did not

   present a danger to himself and was competent enough to refuse medical treatment.

                                               42.

          Upon information and belief, Defendant Kite was aware that Mr. Cruz had a place

   of residence and concerned friends that were seeking to care for him.

                                               43.

          Upon information and belief, Defendant Kite knew that there was no cause for the

   involuntary examination but certified otherwise for the express purpose of restraining

   Mr. Cruz.

                                               44.

          Defendant Kite caused Mr. Cruz to be held involuntarily for examination without

   any cause or lawful justification.

      D. The Unlawful Involuntary Commitment

                                               45.

          While in the custody of Broward Health Medical Center, Mr. Cruz was kept under

   the care of Dr. Nelson A. Hernandez.




                                                                                          11
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 12 of 19




                                                 46.

          Mr. Cruz was found to be consistently pleasant, cooperative, and well dressed. Mr.

   Cruz’s control over his behavior was noted, as was his ability to be calm, alert, articulate,

   and aware of his surrounding environment.

                                                 47.

          No suicidal or homicidal ideation was noted. Mr. Cruz’s thought process was

   found to be linear and organized.

                                                 48.

          Upon information and belief, Defendant Hernandez initiated proceedings within

   the Circuit Court of the 17th Judicial Circuit, in and for Broward County, Florida to

   adjudicate Mr. Cruz as incompetent to consent to treatment, despite finding that Mr. Cruz

   displayed no signs of mental illness or of wanting to cause harm to himself or others.

                                                 49.

          The medical records of Broward Health Medical Center indicate that Mr. Cruz was

   Baker Acted for trespassing and bizarre behavior. Trespassing does not justify an

   involuntary examination.

                                                 50.

          In the video of Mr. Cruz’s arrest that was released to the public, no behavior of

   Mr. Cruz’s can be considered bizarre. Mr. Cruz is calm and compliant.

                                                 51.

          Mr. Cruz spent five days on 24-hour watch undergoing mental health evaluations.

   The doctors found no symptoms of depression, suicidal behaviors or ideation, or


                                                                                             12
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 13 of 19




   homicidal behavior or ideation. Reported sadness was found temporary and not

   clinically troubling. No bizarre behavior was ever noted.

                                                52.

           Upon information and belief, Defendant Hernandez was aware that Mr. Cruz did

   not present a danger to himself and was competent to refuse medical treatment.

                                                53.

           Upon information and belief, while Mr. Cruz was in the custody of BHMC,

   Defendant Hernandez initiated proceedings to terminate Mr. Cruz’s ability to consent to

   medical decisions.

                                                54.

           Upon information and belief, Defendant Hernandez was aware that Mr. Cruz had

   a place of residence and concerned friends there that were seeking to care for him.

                                                55.

           Mr. Cruz was released after 5 days, without any prescription for medication. While

   additional outpatient counselling was recommended, no such treatment was ordered or

   prescribed because, based on professional observations, Mr. Cruz did not display the

   signs of a mentally disturbed person.

                                                56.

           Upon information and belief, Defendant Hernandez knew that there was no cause

   for the finding that Mr. Cruz lacked capacity to consent to medical treatment, yet

   Defendant Hernandez certified that cause did exist for the purpose of restraining Mr.

   Cruz.


                                                                                          13
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 14 of 19




                                                 57.

          Upon information and belief, Defendant Hernandez knew there was no cause for

   the finding that Mr. Cruz should be involuntarily admitted for inpatient treatment but

   certified that cause did exist for the purpose of restraining Mr. Cruz.

                                                 58.

          Upon information and belief, Defendant Hernandez knew he had no lawful

   authority to restrain Mr. Cruz.

                                                 59.

          Upon information and belief, despite the lack of authorization, Defendant

   Hernandez kept Mr. Cruz involuntary confined in Broward Health Medical Center for 5

   days, longer than is authorized by Florida Statute § 39.463.



                                     COUNT I
                 VIOLATION OF CRUZ’S FOURTH AMENDMENT
        RIGHTS FOR FAILURE TO RELEASE PLAINTIFF UPON PAYING BOND
             (Against Captain Veronica Carroll in her individual capacity)

                                                 60.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-44 as if set forth herein.

                                                 61.

          At all times relevant to this Complaint, Cruz had a clearly established right under

   the Fourth Amendment to the United States Constitution to be free from unreasonable




                                                                                          14
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 15 of 19




   seizures of his person by law enforcement officers, such Captain Veronica Carroll and

   her subordinates.

                                               62.

          On March 19, 2018, Cruz was arrested for trespassing. The bond for this crime is

   set at $25. At 7:00 p.m., Mr. Cruz notified the Defendant or her subordinates that he

   wanted, and was able, to immediately pay his bond. Despite clear policies permitting

   this, Mr. Cruz’s request was denied.

                                               63.

          At 9:54 p.m. on March 19, 2018, Andrea Hadyar paid Cruz’s bond. Captain

   Veronica Carroll and the officers under her command refused to release Mr. Cruz after

   that bond was paid.

                                               64.

          Due to the Defendants’ conduct, based on the facts incorporated into this Count

   and the allegations within this Count, because Captain Veronica Carroll and the officers

   under her command refused to release Mr. Cruz after his bond was paid and instead

   initiated involuntary examination proceedings to justify confining him to jail, Mr. Cruz

   is entitled to the relief he seeks.




                                                                                        15
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 16 of 19




                                    COUNT II
    VIOLATION OF CRUZ’S FOURTEENTH AMENDMENT DUE PROCESS RIGHT
          FOR FAILURE TO RELEASE PLAINTIFF UPON PAYING BOND
            (Against Captain Veronica Carroll in her individual capacity)

                                                65.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-44 as if set forth herein.

                                                66.

          Based on all the facts incorporated to support this Count, Mr. Cruz’s due process

   rights were violated by Defendant Carroll through her unlawful containment of Mr.

   Cruz after he posted his bond, forcing him to remain in jail and thereby restricting his

   liberty.

                                       COUNT III
                    STATE LAW CLAIM OF FALSE IMPRISONMENT
                (Against Captain Veronica Carroll in her individual capacity)

                                                67.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-44 as if set forth herein.


                                                68.

          Based on the facts alleged in this Complaint, Defendant Carroll falsely imprisoned

   Plaintiff by continuing Plaintiff’s incarceration after payment of his bond when Carroll

   knew she had no lawful authority to do so. As such, Plaintiff is entitled to all damages

   permissible by law.




                                                                                              16
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 17 of 19




                                         COUNT IV
                                MALICIOUS PROSECUTION
                           (Against Defendants Kite and Hernandez)

                                                 69.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-59 as if set forth herein.

                                                 70.

          At all times relevant to this Complaint, Cruz had a right to be free from malicious

   prosecution.

                                                 71.

          Based on the facts incorporated into this Count and the allegations within this

   Count, Defendants Kite and Hernandez initiated a civil judicial proceeding against Mr.

   Cruz. That proceeding was terminated in Mr. Cruz’s favor when he was released from

   Broward Health Medical Center without the need for further treatment.

                                                 72.

          Based on the facts incorporated into this Count and the allegations within this

   Count, the Defendants lacked probable cause or any legal basis for the initiation of this

   civil proceeding and instituted that proceeding with malice. Mr. Cruz suffered damage

   as a result of this proceeding, having been held involuntarily for five days in Broward

   Health Medical Center.

                                                 73.

          Due to the Defendant’s conduct, based on the facts incorporated into this Count

   and the allegations within this Count, Mr. Cruz is entitled to relief.


                                                                                          17
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 18 of 19




                                       COUNT V
                     STATE LAW CLAIM OF FALSE IMPRISONMENT
                         (Against Defendants Kite and Hernandez)

                                                 74.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-59 as if set forth herein.

                                                 75.

          Based on the facts incorporated into this Count and the allegations within this

   Count, Defendants Kite and Hernandez falsely imprisoned Mr. Cruz by involuntarily

   committing him and holding him at Broward Health Medical Center for involuntary

   examination, while knowing they had no legal authority to do so. As such, Plaintiff is

   entitled to all damages permissible by law.

                                          COUNT V
                                     PUNITIVE DAMAGES
                                    (Against All Defendants)

                                                 76.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-59 as if set forth herein.


                                                 77.

          Based on the facts alleged in this Complaint, Plaintiff is entitled to punitive

   damages, under all applicable laws, because, inter alia, Defendants Carroll, Kite, and

   Hernandez acted with willful and conscious indifference to the laws that protect Cruz’s

   Constitutional rights.




                                                                                       18
Case 0:19-cv-61160-WPD Document 1 Entered on FLSD Docket 05/07/2019 Page 19 of 19




                                          COUNT VI
                                       ATTORNEY FEES
                                   (Against Defendant Carroll)

          Based on the facts alleged in this Complaint, the Plaintiff is entitled to attorney’s

   fees against all defendants under 42 U.S.C. § 1983, § 1988(b), and all applicable laws.

          WHEREFORE, Plaintiff prays this Court:

      a) That process issue and service be had on each Defendant;

      b) That a jury trial be had on all issues so triable;

      c) That Plaintiff recover all costs of this litigation;

      d) That Plaintiff be awarded all other expenses in an amount to be determined at trial,

          including attorney fees;

      e) That Plaintiff have judgment against Defendant Carroll, Kite, and Hernandez for

          punitive damages; and

      f) That Plaintiff receives such other and further relief as this Court deems just and

          proper.

                 Respectfully submitted on this 7th day of May 2019,

                                                                /s/ Dallas S. LePierre
                                                                DALLAS S. LEPIERRE
                                                                Florida Bar No. 101126
                                                                Counsel for Plaintiff

   NEXUS DERECHOS HUMANOS ATTORNEYS, INC.
   44 Broad Street, NW, Suite 200
   Atlanta, Georgia 30303
   (404) 254-0442 Telephone
   (404) 592-6225 Facsimile
   dlepierre@ndh-law.com
   mdobbs@ndh-law.com



                                                                                             19
